Case: 1:17-cv-00783-WOB-KLL Doc #: 43 Filed: 10/07/19 Page: 1 of 1 PAGEID #: 247




                         Court Name: US District Court SDO
                         Division: I
                         feceipt Nuiber; 100C1H037798
                         Cashier ID: hiltze
                         Transaction Date: 10/07/2019
                         Payer Name: BAKER OONELSON BEARMAN
                         PRO HAC VICE
                          For: BAKER OONELSON BEARMAN
                          Case/Party: D-OHS-1-19-LD-ATlYOl-001
                          Amount:        $200.00

                         CHECK
                          Remitter: BAKER OONELSON BEARMAN CALDWEL
                          Check/Money Order Num: 0112918
                          Amt Tendered:   $200.00

                         Total Due:       $200.00
                         Total Tendered: s2(10.00
                         Change Amt:     $0.00
                          1:17CV783 PHV - KEVIN STINE

                         A fee of $53.00 uiII be assessed on
                         all returned checks.
